          Case 1:20-cv-02658-CJN Document 66 Filed 04/12/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                              Case No. 20-cv-02658 (CJN)

JOSEPH R. BIDEN, JR., in his official capacity
as President of the United States, et al.,

                        Defendants.




                                      JOINT STATUS REPORT

       Pursuant to the Court’s February 16, 2021 Minute Order, the parties have met and

conferred regarding whether recent developments have narrowed or eliminated any of the issues

raised in this case, and hereby submit this joint status report.

       As discussed in the prior joint status report, see ECF No. 65, the Department of Commerce

is in the process of completing a comprehensive review of the Secretary’s prohibitions regarding

the TikTok mobile application at issue in this case. Although the Department has made significant

progress in its review of the prohibitions and the underlying record, some additional steps remain

to be completed. In particular, new and incoming leadership at the Department of Commerce and

other interested agencies need additional time to consider potential options, including whether the

prohibitions should be revised or withdrawn. Revision or withdrawal of the prohibitions would

likely affect the issues presented in this case, and may eliminate the need for this Court’s review

entirely. The agency thus requires additional time to review the prohibitions and the underlying

administrative record in light of the multiple legal issues presented in this case, to consult with all

interested federal agencies and offices, and to determine the appropriate course going forward.
          Case 1:20-cv-02658-CJN Document 66 Filed 04/12/21 Page 2 of 3




       Previously, the Government filed motions to hold in abeyance both the ongoing appeals

before the D.C. Circuit of the preliminary injunctions previously entered by this Court. See TikTok

Inc. v. Biden, No. 20-5302 (D.C. Cir.); TikTok Inc. v. Biden, No. 20-5381 (D.C. Cir.). Those

motions were unopposed by Plaintiffs, and the D.C. Circuit granted both motions. Based on the

facts set forth above, the Government intends to request that the appeals continue to be held in

abeyance.

       For the same reasons, Defendants’ position is that it likewise makes sense to stay further

proceedings before this Court based on the above developments. Plaintiffs agree that, so long as

the D.C. Circuit appeals are held in abeyance, district court proceedings should also be held in

abeyance. Accordingly, the parties jointly propose that the pending deadlines in this matter be

stayed, with a further joint status report due in 60 days, i.e., on June 11, 2021.



DATED: April 12, 2021                          Respectfully submitted,

                                                /s/ John E. Hall               .

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Case 1:20-cv-02658-CJN Document 66 Filed 04/12/21 Page 3 of 3




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                             3
